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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

 

Processing Operations Management Order Ba

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Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the minimal
areas to check and is not limited to these areas within facility. Checklist must be retained by the District Political and

Operational Clean Sweep Search Checklist- Political and Election Mail

 

 

 

 

 

Election Mail Operations C ordingtor information for investigating possible missing or delayed Political and/or Election
Mail. District:_ [Vt Lk bt band Name: El c bl (tg
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Incoming dock

 

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Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

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Election Mail Operations Coordinator information for investigating passible, mis or delayed Political and/or Election
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UNITED STATES POSTAL SERVICE

 

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Outbound dock

 

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PROCESSING OPERATIONS
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UNITED STATES POSTAL SERVICE

 

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Election Mail Operations Coordigator information for investigating possible mnissiag or delayed Political and/or Election
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Election Mail Operations Coordinator information for investigating pogsible missing or delayed Political and/or Election
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Title: fy lw/t- Move - £44 Phone #: £05 CE/ 20 cy

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Operational Clean Sweep Search Checklist- Political and Election Mail

 

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

Election Mail Operations Coordinator information for investigating.possible missing or delayed Political and/or Election

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Outbound dock

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

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